       Case 1:25-cv-00400-AHA            Document 76        Filed 04/08/25     Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                   Plaintiffs,
                                                      Civil Action No. 25-cv-400 (AHA)
            v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                   Defendants.



            DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
                         TO RESPOND TO COMPLAINT

       1.        Defendants respectfully move under Federal Rule of Civil Procedure 6(b)(1) for a

29-day enlargement of time to, and including, May 13, 2025, to respond to the Complaint in this

action (AVAC). Under Local Civil Rule 7(m), undersigned counsel asked counsel for Plaintiffs on

April 7, 2025 for their position on the instant motion. Counsel for Plaintiffs stated they do not

oppose the requested extension.

       2.        Defendants calculate that the deadline for the response to Plaintiffs’ Complaint in

this action is currently Apil 14, 2025. Defendants also calculate that the deadline for the response

to the Complaint in Global Health Council v. Trump (GHC), No. 22-cv-402, also pending before

this Court, is May 13, 2025.

       3.        Given the similarity between the claims asserted in the AVAC and GHC actions,

this Court heard argument on the AVAC Plaintiffs’ motion for a temporary restraining order and a

preliminary injunction together with argument on the GHC Plaintiffs’ motion for such relief, and

this Court’s resulting orders of February 13, 2025, AVAC Doc. 17, and March 10, 2025, AVAC

                                                  1
         Case 1:25-cv-00400-AHA         Document 76         Filed 04/08/25    Page 2 of 3




Doc. 60, concurrently addressed both actions. Additionally, Defendants filed a combined brief in

opposition to those preliminary injunction motions and have sought to reduce duplicative briefing

between the two actions throughout. Accordingly, in light of the similarity between the actions,

extending the time for Defendants’ response to the AVAC Complaint by 29 days would allow

Defendants to efficiently coordinate and align that response with their response to the GHC

Complaint, and hence facilitate the proper evaluation of those responses by the parties and the

Court.

         4.    The requested extension is also warranted to allow counsel in this action to meet

obligations in other actions with upcoming briefing deadlines. Those upcoming deadlines include

those set by other courts in this District in cases against several agencies that are Defendants in

this action, including on April 21, 2025 and May 5, 2025.

         5.    Therefore, good cause supports this motion for an extension, and it is not being

made for purposes of delay.

         6.    Defendants have not previously sought an extension of time to respond to the AVAC

Complaint. The granting of the motion will have no effect on existing deadlines in either action.

         7.    For the foregoing reasons, Defendants respectfully request that this motion be

granted and that they accordingly be allowed until, and including, May 13, 2025 to respond to the

Complaint in this action, in alignment with the deadline for their response to the GHC Complaint.

         8.    A proposed order consistent with this motion is also submitted.




                                                2
      Case 1:25-cv-00400-AHA   Document 76      Filed 04/08/25     Page 3 of 3




Dated: April 8, 2025                     Respectfully submitted,
                                         YAAKOV M. ROTH
                                         Acting Assistant Attorney General
                                         Civil Division

                                         ERIC J. HAMILTON
                                         Deputy Assistant Attorney General

                                         ALEXANDER K. HAAS
                                         Director

                                         LAUREN A. WETZLER
                                         Deputy Director

                                         CHRISTOPHER R. HALL
                                         Assistant Branch Director

                                         /s/ Indraneel Sur
                                         INDRANEEL SUR (D.C. Bar 978017)
                                         Senior Counsel
                                         United States Department of Justice
                                         Civil Division, Federal Programs Branch
                                         1100 L St. NW
                                         Washington, DC 20005
                                         Phone: (202) 616-8488
                                         Email: indraneel.sur@usdoj.gov

                                         Counsel for Defendants




                                     3
